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                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                      §
           Plaintiff,                          §
                                               §
v.                                             §                   1:21-MJ-00392-ZMF-1
                                               §
SEAN DAVID WATSON,                             §
           Defendant.                          §

                                    Notice of Appearance

To the clerk of the Court and all parties of record:

       I am admitted to practice in the State of Texas, the District Court for the Western

District of Texas, and the United States Court of Appeals for the Fifth Circuit. On May 5,

2021, this Court held Sean Watson’s initial appearance. The Court found that Watson

qualified for court-appointed counsel and indicated its intention to appoint me as counsel

for Watson, pursuant to the Criminal Justice Act.

       In accordance with that appointment, I appear in this case for Sean David Watson

who has been charged by criminal complaint with two counts—knowingly entering or

remaining in a restricted building or grounds without lawful authority and violent entry

and disorderly conduct on Capitol grounds.

       Pursuant to local criminal rule 44.5, I certify that I am familiar with the Federal

Sentencing Guidelines. Further, pursuant to local criminal rule 44.1(b), I certify that I have

previously acted as lead counsel in a federal district court in a contested jury trial.


                                                           Respectfully submitted,

                                                           /s/ Shane O’Neal
                                                           Shane O’Neal
                                                           O’Neal Law
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                                  Certificate of Service
  I certify that I have filed a copy of this notice through the cm ecf filing system which
will send electronic notice to:
AUSA Graciela Rodriguez Lindberg
Laredo Division, Southern District of Texas
11204 McPherson Road
Suite 100a
Laredo, TX 78045
956-723-6523
Email: graciela.lindberg@usdoj.gov

                                                       /s/ Shane O’Neal_________
                                                       Shane O’Neal
